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                              UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA


    ROPER TECHNOLOGIES, INC.,

          Plaintiff,

    vs.                                                  Case No.: 8:17-CV-1522-T-33MAP

    ANTHONY LYSENKO,
                                                        Dispositive Motion
      Defendant.
    ____________________________________/



                        DEFENDANT ANTHONY LYSENKO’S DISPOSITIVE
                       MOTION TO DISMISS FIRST AMENDED COMPLAINT
                          AND SUPPORTING MEMORANDUM OF LAW

             Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) and Rule 3.01

   of the Local Rules for the Middle District of Florida, Defendant Anthony Lysenko

   (“Lysenko”), hereby moves this Court for an order dismissing the First Amended

   Complaint (DE 10) (the “Complaint”) filed on behalf of Plaintiff Roper Technologies,

   Inc. (“RTI”).

                                   MEMORANDUM OF LAW

     I. PROCEDURAL & FACTUAL HISTORY

             RTI filed its initial unverified pleading against a “John Doe” defendant on June

   26, 2017. (DE 1). On October 18, 2017, RTI filed the instant Complaint, which consists

   of a single count purporting to assert a claim under the federal Computer Fraud and

   Abuse Act, 18 U.S.C. § 1030. (DE 10).
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          According to the unverified Complaint, RTI stores “highly sensitive” and

   “confidential financial” information (DE 10 at ¶¶ 9, 18), in an “online treasury

   management system” that is subject to limited access, log-in credentials and monitoring.

   Id. at ¶¶ 9, 10 17, 18. RTI’s “computers and online treasury management system” are

   allegedly used “in interstate commerce to conduct business in many different states.” Id.

   at ¶ 17. The Complaint alleges that Lysenko, a former employee, is not one of the

   “individuals authorized to access” RTI’s “computers and online treasury management

   system,” id. at ¶¶ 11, 19, and that he is attempting to “hack into Roper’s servers” from IP

   address 72.186.115.192 “using the account name ‘alys’.” Id. at ¶ 12. As sole support for

   this allegedly criminal conduct, the unverified Complaint simply avers that “[r]ecently,

   Roper’s information technology professionals observed multiple attempts by Lysenko to

   improperly access Roper’s online treasury management system.” Id. at ¶ 10.

          The balance of the unverified Complaint is essentially devoted to repeating the

   accusation that Lysenko is “continuously attempting to improperly access Roper’s online

   treasury management system without authorization.” Id. at ¶ 1; see also id. at ¶ 6

   (“multiple unauthorized attempts to access Roper’s online treasury management system

   without authorization”), id. at ¶ 10 (“multiple attempts by Lysenko to improperly access

   Roper’s online treasury management system”), id. at ¶ 20 (“without authorization, has

   intentionally attempted to access Roper’s protected computers and servers”), id. at ¶ 21

   (“continues to attempt to hack and inappropriately access protected computers”). The

   Complaint also claims in conclusory fashion that Lysenko acted “intentionally,” id. at ¶¶

   20, 21, 23, “knowingly,” id. at ¶¶ 21, 23, fraudulently, id. at ¶ 22, to “gain access to”



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   confidential information “about” RTI, id. at ¶ 22, and to advance his own personal

   interests. Id. at ¶ 21. The Complaint wraps up with the adorned conclusion that “[a]s a

   result of Lysenko’s conduct” RTI has incurred “substantial damages in excess of $5,000”

   in less than one (1) year and demands judgment for punitive, treble, and statutory

   damages, attorney’s fees, injunctive and other relief. Id. at ¶ 24.



    II. ARGUMENT

          This Court’s jurisdiction is based solely on RTI’s single-count Complaint

   purporting to allege a claim under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030

   (the “CFAA”). The CFAA generally prohibits accessing a computer without or in excess

   of authorization resulting in certain categories of loss or damage. See 18 U.S.C. § 1030.



       A. Applicable procedural standards

          To satisfy the pleading requirements of Rule 8 of the Federal Rules of Civil

   Procedure, a complaint must simply give the defendants fair notice of what the plaintiff’s

   claim is and the grounds upon which it rests. See, e.g., Allied Portables, LLC v. Youmans,

   2015 IER Cases 184,602, 2015 WL 3720107, at *2 (M.D. Fla. 2015). While not requiring

   “detailed factual allegations,” Rule 8 demands more than an unadorned, “the-defendant-

   unlawfully-harmed-me accusation.” Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1268

   (11th Cir. 2009) (citing Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009), abrogated on other

   grounds in Mohamad v. Palestinian Auth., 566 U.S. 449 (2012)). “To survive a motion to

   dismiss, a plaintiff must do more than merely ‘label’ his claims.” In re AOL, Inc. Version



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   5.0 Software Litig., 168 F. Supp. 2d 1359, 1366 (S.D. Fla. 2001) (citing Blackston v.

   Alabama, 30 F.3d 117, 120 (11th Cir. 1994)); see also Allied Portables, 2015 WL

   3720107 at *6 (plaintiff’s obligation to provide the “grounds” of its entitlement to relief

   requires more than “labels, conclusions, and formulaic recitation” of the elements).

          Courts follow a two-prong approach when considering a motion to dismiss: “1)

   eliminate any allegations in the complaint that are merely legal conclusions; and 2) where

   there are well-pleaded factual allegations, ‘assume their veracity and then determine

   whether they plausibly give rise to an entitlement to relief.” American Dental Ass’n v.

   Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010) (quoting Ashcroft, 556 U.S at 679). If

   “the plaintiff pleads factual content that allows the court to draw the reasonable inference

   that the defendant is liable for the misconduct alleged,” then the claim meets the

   “plausibility requirement,” but it requires “more than a sheer possibility” that the

   allegations are true. Id. See also Thomas Christopher Group, Inc. v. Moreno, No. 8:15–

   CV–992–T–17EAJ, 2015 WL 4139169, at *1 (M.D. Fla. Jul. 8, 2015).

          Although a court “must accept the allegations of the complaint as true and must

   construe the facts alleged in the light most favorable to the plaintiff” when deciding a

   Rule 12(b)(6) motion to dismiss, Hunnings v. Texaco, Inc., 29 F.3d 1480, 1484 (1994),

   app. after remand, 166 F.3d 351 (11th Cir. 1998) (citation omitted), unwarranted

   deductions of fact in a complaint are not admitted as true for the purpose of testing the

   sufficiency of the allegations. Sinaltrainal, 578 F.3d at 1268 (citing Aldana v. Del Monte

   Fresh Produce, N.A., Inc., 416 F.3d 1242, 1248 (11th Cir. 2005)). “[C]onclusory

   allegations, unwarranted factual deductions or legal conclusions masquerading as facts



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   will not prevent dismissal.” Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th

   Cir. 2003), cert. denied, 540 U.S. 1016 (2003) (citation omitted); see also Ashcroft, 556

   U.S at 678 (“[N]aked assertions devoid of further factual enhancement are also

   insufficient to survive a motion to dismiss”) (internal quotations omitted).

          The Complaint consists entirely of regurgitated labels, conclusions unsupported

   by pleaded facts, and “a formulaic recitation” of the (incomplete) elements of a claim.

   Twombly, 550 U.S. at 570. RTI has failed to plead “factual content that allows the court

   to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

   Ashcroft, 556 U.S. at 678. Not only does the Complaint lack sufficient factual allegations

   supporting any plausible claim for relief under the CFAA, on its face it negates any

   CFAA claim and should be dismissed pursuant to Federal Rules of Civil Procedure

   12(b)(1) and 12(b)(6). See, e.g., In re AOL, 168 F. Supp. 2d at 1366 (dismissal is

   appropriate when no construction of the factual allegations will support the cause of

   action based on a dispositive issue of law).



       B. RTI’s CFAA claims should be dismissed for failure to allege elements
       required under all CFAA provisions

          To invoke this Court’s jurisdiction, RTI relies entirely on an alleged claim under

   CFAA, which prohibits seven (7) types of computer crimes involving or related to

   unauthorized (or exceeding authorization in most categories) access to computers. See 18

   U.S.C. § 1030(a). Criminal defendants charged with violating, attempting to violate

   and/or conspiring to violate CFAA face penalties ranging from monetary fines to lengthy

   incarceration. See 18 U.S.C. § 1030(c). The CFAA was enacted in 1984 to enhance the


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   government’s ability to prosecute computer crimes. See, e.g., Enhanced Recovery Co. v.

   Frady, No. 6:17–CV–933–ORL–40DCI, 2015 WL 1470852, at *5 (M.D. Fla. Mar. 31,

   2015).

            As the Middle District (and others in the Eleventh Circuit) repeatedly has

   recognized, the CFAA was “‘designed to target hackers who accessed computers to steal

   information or to disrupt or destroy computer functionality, as well as criminals who

   possessed the capacity to access and control high technology processes vital to our

   everyday lives....’” Alternative Medicine Integration Group, Inc. v. Langford, No. 8:13-

   CV-2909-T-33AEP, 2013 WL 6195774, at *3 n. 1 (M.D. Fla. Nov. 19, 2013) (quoting

   Trademotion, LLC v. Intelligence Auto. Corp., 857 F. Supp. 2d 1285, 1289-90 (M.D. Fla.

   2012)). See also Allied Portables, 2015 WL 3720107, at *3.

            Although primarily a criminal statute, CFAA authorizes private individuals and

   companies to sue for damages caused by violations of CFAA under limited

   circumstances: “Any person who suffers damage or loss by reason of a violation of this

   section may maintain a civil action against the violator to obtain compensatory damages

   and injunctive relief or other equitable relief.” 18 U.S.C. § 1030(g) (italics added). See

   also Coll Builders Supply, Inc. v. Velez, No. 6:17–CV–933–ORL–40DCI, 2017 WL

   4158661, at *6 (Aug. 31, 2017), report & recommendation adopted, 2017 WL 4125641

   (M.D. Fla. Sep. 18, 2017).

            18 U.S.C. § 1030(g) creates only a “limited private right of action.” See, e.g.,

   Enhanced Recovery, 2015 WL 1470852, at *11. 18 U.S.C. § 1030(g)’s authorization of a

   civil suit is not coextensive with the entire CFAA because a civil action must include, in



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   addition to “damage or loss” because of a “violation” must also include allegations of

   conduct involving one of five statutory factors.1 18 U.S.C. § 1030(g). In this regard,

   CFAA’s private action provision is “principally defined by a two-part injury requirement;

   a plaintiff must suffer a certain type of root injury, which is not sufficient to support a

   civil action, unless one of five operatively-substantial effects occurs.” Resdev, LLC v. Lot

   Builders Ass’n, No. 6:04-CV-1374ORL31DAB, 2005 WL 1924743, at *3 (M.D. Fla.

   Aug. 10, 2005). Consequently, to pursue a civil claim, not only must RTI allege that

   Lysenko “violated” the CFAA, but that the “violation” resulted in a cognizable “loss” to

   RTI of at least $5,000 in a one (1) year period. See 18 U.S.C. §§ 1030(c)(4)(A)(i)(I),

   1030(g). Accord Allied Portables, 2015 WL 3720107, at *3; Aquent, LLC v. Stapleton, 65

   F. Supp. 3d 1339, 1342 (M.D. Fla. 2014).

           Although the Complaint purports to sue under CFAA, it does not identify the

   substantive provision that Lysenko allegedly violated, alternating between references to

   “attempts” to (a) “hack” into RTI’s “servers,” (DE 10 at ¶ 12), (b) access protected

   computers with “the intent to defraud and gain access to confidential information about

   Roper,” id. at ¶ 22, and (c) access “highly sensitive and confidential financial

   information” contained in RTI’s “online treasury management system.” Id. at ¶¶ 18-20.




   1
     § 1030(g) limits civil actions to those involving one of the five “factors” enumerated in
   subparagraphs (I)-(V) of § 1030(c)(4)(A)(i). Only the factor set out in subparagraph (I)
   (aggregated “loss” of at least $5,000 in one (1) year), is potentially relevant to this case. See 18
   U.S.C. §1030(g); Aquent, 65 F. Supp. 3d at 1352 n. 4 (M.D. Fla. 2014) (“the civil cause of action
   does not need to be brought under subsection (c)(4)(A)(i), but it must involve conduct
   enumerated in those paragraphs”).



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           Potentially relevant to such allegations are, respectively: intentionally accessing a

   computer without (or exceeding) authorization and obtaining information from a

   protected computer, see 18 U.S.C. § 1030(a)(2)(C) (“data theft”), knowingly and with

   fraudulent intent accessing a protected computer and as a result obtaining value from the

   protected computer that furthers the fraud, see 18 U.S.C. § 1030(a)(4) (“fraud”), and

   intentionally accessing a protected computer and causing damage and loss. 18 U.S.C. §

   1030(a)(5)(C) (“hacking”) 2. However, the Complaint fails to state a claim relating to any

   CFAA subsection on which RTI purports to rely because all such claims must allege

   “access” and cognizable “loss” meeting statutory thresholds. Because RTI fails to plead

   those elements, the Complaint should be dismissed pursuant to Rule 12(b)(6).



           1. CFAA claim fails for lack of “access”

           Each of the CFAA claims above require the common element of “access.” See,

   e.g., Maintenx Management, Inc. v. Lenkowski, 2015 IER Cases 175,037, 2015 WL

   310543, at *3 (M.D. Fla. Jan. 26, 2015) (failure to sufficient allege access was fatal to

   CFFA claims under 18 U.S.C. §§ 1030(a)(2)(C), 1030(a)(4), and 1030(a)(5)(C)). For

   example, a “hacking” claim grounded on 18 U.S.C. § 1030(a)(5)(C) requires RTI to

   allege that Lysenko intentionally accessed a protected computer without authorization

   and as a result caused both “damage” and “loss.” See 18 U.S.C § 1030(a)(5)(C).


   2
     This motion does not address an alternative “hacking” section, 18 U.S.C. § 1030(a)(5)(B),
   requires the more demanding element of “reckless” intent. While it requires only “damage” and
   not “loss,” compare 18 U.S.C. § 1030(a)(5)(C), RTI already must allege “loss” to purse any civil
   claim. See 18 U.S.C. §§ 1030(g) and 1030(c)(4)(A)(i)(I) and infra.



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   Likewise, to state a “fraud” claim grounded on 18 U.S.C. § 1030(a)(4), RTI must allege

   that Lysenko knowingly and with intent to defraud accessed a protected computer

   without (or exceeding) authorization, which conduct furthered his intended fraud, and as

   a result of which conduct he obtained something of value. See 18 U.S.C § 1030(a)(4).

   Finally, to pursue a “data theft” claim under 18 U.S.C. § 1030(a)(2)(C), RTI must allege

   that Lysenko intentionally accessed a computer without (or exceeding) authorization and

   thereby obtained information from a protected computer. See 18 U.S.C § 1030(a)(2)(C).

           Indeed, numerous federal courts have observed that the various substantive

   offenses3 in CFAA are triggered by unauthorized access, which is an element of any

   CFAA privacy claim. See, e.g., Agilysys, Inc. v. Hall, ____ F. Supp. 3d ___, 2017 WL

   2903364, at *6 (N.D. Ga. May 25, 2017); (action can only be brought against the

   “violator,” e.g., the one actually accessed the computers); Thomas Christopher Group,

   2015 WL 4139169, at *3 (complaint failed to allege facts showing defendant

   intentionally accessed computer); Davies v. Afilias Ltd., 293 F. Supp. 2d 1265, 1273

   (M.D. Fla. 2003); Power Equip. Maintenance, Inc. v. AIRCO Power Servs., Inc., 953 F.

   Supp. 2d 1290, 1297 (S.D. Ga. 2013) (“CFAA requires that the individual actually access

   the information..”); Trademotion, 857 F. Supp. 2d at 1293 (no allegations that either

   defendant accessed plaintiffs’ protected computers).




   3
    This case does not allege “non-access” claims of credential trafficking, see 18 U.S.C. § 1030(6),
   or extortion, see 18 U.S.C. § 1030(7). The only other exception in a civil case is “conspiracy” to
   violate CFAA, see generally 18 U.S.C. §§ 1030(b), (g), which is not alleged in the Complaint.



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           The Complaint lacks even a single allegation that Lysenko accessed any protected

   computer4; by contrast, it is replete with statements to the contrary, consistently alleging

   only that Lysenko “attempted” to access RTI’s computers, servers, or other systems. (DE

   10 at ¶¶ 1, 6, 10, 12, 20, 21, 22). However, repetition of a non-element does not cure the

   absence of, and indeed contradicts, the critical element of “access.”5 RTI’s Complaint is

   deficient as matter of law.




   4
    Because the allegations in the Complaint expressly negate the existence of any cognizable claim
   under the CFAA, Lysenko need not, and therefore does not for purposes of this motion only,
   challenge RTI’s vague and sparsely pleaded allegations that its “online treasury management
   system” is “used in interstate commerce to conduct business” and therefore constitutes a
   “protected computer.” (DE 10 at ¶¶17, 20, 21).

   5 Addressing the increasing attempts to use the CFAA against former employees, courts within
   the Eleventh Circuit have held that a violation under the CFAA for access “without authorization”
   occurs only where initial access was not permitted.” See, e.g., Enhanced Recovery, 2015 WL
   1470852, *2 (“the Court agrees with the analysis of the majority of the district courts within the
   Eleventh Circuit, who have held that the CFAA's definition of “exceeds authorized access” does
   not reach an employee who has permission to access proprietary information, but subsequently
   uses it in violation of company policy”); EarthCam, Inc. v. OxBlue Corp., 49 F. Supp. 3d 1210,
   1231 (N.D. Ga. 2014), aff’d, ___ Fed. Appx. ____, 2017 WL 3188453, (11th Cir. Jul. 27, 2017);
   Power Equip. Maintenance, 953 F. Supp. 2d at 1295-96; Trademotion, 857 F. Supp. 2d at
   1291; Mortgage Now, Inc. v. Stone, No. 3:09CV80/MCR/MD, 2009 WL 4262877, *9 (N.D. Fla.
   2009); Diamond Power Internat’l, Inc. v. Davidson, 540 F. Supp. 2d 1322, 1341 (N.D. Ga.
   2007); Lockheed Martin, 2006 WL 2683058, *7; cf. Aquent, 65 F. Supp. 3d at 1346. Although
   hinting that Lysenko, a “former employee,” (DE 10 at ¶ 11), had such prior authorization through
   his allegation that Lysenko was “using the account name ‘alys’,” (DE 10 at ¶ 12), the Complaint
   does not allege that Lysenko had authorization to access any RTI systems during his employment.
   Instead, the Complaint vaguely characterizes the alleged conduct as “unauthorized,” and
   “improper,” and “inappropriate[],” and that Lysenko “is not … authorized…” (DE 10 at ¶¶ 1, 6,
   10, 19, 20, 21). Therefore, this motion does not address whether RTI’s claim is also precluded for
   failure to allege that Lysenko “exceeded authorization” as required by these cases. Compare
   Clarity Servs., 698 F. Supp. 2d at 1316 (former employee did not violate CFAA by booting
   laptop and restoring factory settings after resigning, where employee enjoyed unrestricted access
   to all information on laptop throughout his employment, employer failed to impose any restriction
   on his access to laptop after he resigned, and there was no evidence that employee obtained any
   information from laptop).



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           Although RTI repeatedly alleges that Lysenko “attempted” to access protected

   computers, the CFAA does not authorize a civil claim for “attempted” offenses. While 18

   U.S.C. § 1030(b) authorizes punishment of those who “attempt to” or “conspire to”

   violate CFAA as set forth in 18 U.S.C. § 1030(c), the civil claim provision is drawn more

   narrowly: authorizing only a person who has suffered damage or loss as a result of a

   “violation” to bring a civil action again the “violator.”6 18 U.S.C. § 1030(g). See

   Trademotion, 857 F. Supp. 2d at 1293. Conspiracy to violate CFAA is a separate and

   distinct violation requiring different elements7, whereas “attempting” to violate CFAA is

   merely an incomplete violation.8 While courts have opined, some more skeptically than

   others, on the viability of a conspiracy claim under CFAA, see, e.g., Coll Builders

   Supply, 2017 WL 4158661, at *10-11; Trademotion, 857 F. Supp. 2d at 1293-94;




   6
     Other provisions demonstrate the intent to distinguish between actual statutory violations
   (including conspiracy) and attempts: for example, forfeiture provisions may only be imposed on
   one who has been “convicted of a violation of this section, or convicted of conspiracy to violate
   this section….” 18 U.S.C. § 1030(i) (emphasis added).
   7
    A conspiracy to violate a law is separate from the underlying crime and requires additional
   elements, most notably an “agreement” to commit an unlawful act. See, e.g., United States v.
   Chandler, 388 F.3d 796, 805 (2004), on subseq. appeal, 271 Fed. Appx. 974, rehearing denied,
   284 Fed. Appx. 805 (11th Cir. 2008). What distinguishes the offense of conspiracy from a
   substantive offense, is that “agreement is the essential evil at which the crime of conspiracy is
   directed’…The agreement itself ‘remains the essential element of the crime’.” Id. at 806 (11th Cir.
   2004) (quoting Iannelli v. United States, 420 U.S. 770, 777 n. 10 (1975)). See also Agilysys, 2017
   WL 2903364, at *6. Consequently, a criminal defendant could be charged and convicted of both
   conspiracy to violate the CFAA and the underling substantive violation of CFAA that is the
   object of the conspiracy.
   8
    Unlike attempt, conspiracy does not merge with the substantive offense; a conspirator may be
   punished for both. See, e.g., Pinkerton v. United States, 328 U.S. 640, 642 (1946) (“the
   commission of the substantive offense and a conspiracy to commit it are separate and distinct
   offenses”).



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   Agilysys, 2017 WL 2903364 at *6; Allied Portables, 2015 WL 3720107 at *6. No

   reported cases have recognized a private claim based on “attempt.”

          As noted above, the CFAA authorizes civil actions only against “violators” by

   those who have suffered damage or loss as a result of a “violation,” Agilysys, 2017 WL

   2903364 at *6. RTI has failed to allege facts supporting its standing under the CFAA,

   because it does not allege “access” to such computers.



          2. CFAA claim fails to allege any cognizable “loss”

          The Complaint also fails to allege that it suffered from cognizable “loss” as

   defined by the CFAA and that would exceed the $5,000 threshold, which is equally fatal

   to the CFAA claim under theory outlined above. The CFAA ascribes a specific and

   limited meaning to the term “loss,” defining it as “any reasonable cost to any victim,

   including the cost of responding to an offense, conducting a damage assessment, and

   restoring the data, program, system, or information to its condition prior to the offense,

   and any revenue lost, cost incurred, or other consequential damages incurred because of

   interruption of service.” 18 U.S.C. § 1030(e)(11). Not only must RTI allege cognizable

   loss but that such cognizable “loss” meets the statutory $5,000 threshold. See 18 U.S.C. §

   1030(g). See also Nexans Wires S.A. v. Stark–USA, Inc., 319 F. Supp. 2d 468, 475

   (S.D.N.Y. 2004) (“[T]he meaning of ‘loss,’ [under the CFAA] ... has consistently meant a

   cost of investigating or remedying damage to a computer, or a cost incurred because the

   computer's service was interrupted.”).




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          Thus, “loss” includes two (2) separate cognizable categories: first, the “reasonable

   costs incurred in connection with such activities as responding to a violation, assessing

   the damage done, and restoring the affected data, program system, or information to its

   condition prior to the violation” and second, “any revenue lost, cost incurred, or other

   consequential damages incurred because of interruption of service.” Brown Jordan

   Internat’l, Inc. v. Carmicle, 846 F.3d 1167, 1174 (11th Cir. 2017). See also Aquent, 65 F.

   Supp. 3d at 1344-45; Klein & Heuchan, Inc. v. Costar Realty Info, Inc., No. 8:08–CV–

   1227–T–30EAJ, 2009 WL 963130 (M.D. Fla. Apr. 8, 2009). As noted earlier, only the

   alleged cognizable “loss” is included calculating whether RTI has satisfied the $5,000 in

   1-year threshold. See 18 U.S.C. § 1030(g); Aquent, 65 F. Supp. 3d at 1344.

          RTI fails to allege cognizable “loss” of any amount or even include the term

   “loss.” The sole reference in the unverified Complaint to any monetary damages is that

   “[a]s a result of Lysenko’s conduct, within less than one year’s time, Roper has incurred

   substantial damages in excess of $5,000.” (DE 10 at ¶ 24). In SkiData v. Goudie, No.

   6:12-CV-1612-ORL-36KRS, 2012 WL 12883836 (M.D. Fla. 2012), the Court rejected

   similar allegations in a Verified Complaint as insufficient to meet minimum pleading

   requirements, where the pleadings did not allege any costs cognizable as “loss” under

   CFAA. Id. at *2.

          Not only does the Complaint omit any reference to “loss” whatsoever, it fails to

   allege any type of damage or harm that would be cognizable under either category of

   “loss” defined by the CFAA. The Complaint contains no allegation that RTI incurred any

   costs or expenses in investigating, responding to, or correcting damage caused by any



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   alleged conduct by Lysenko, much less a violation of the CFAA. Indeed, the Complaint

   does not allege that RTI actually investigated or responded to any activity or corrected

   any damage caused thereby. It merely alleges that RTI’s technology staff “observed”

   alleged attempts by Lysenko to “improperly access” RTI’s system. (DE 10 at ¶ 10). The

   Complaint is otherwise bereft of any allegations as to what RTI did or didn’t do with

   respect to the alleged “hacking” attempts.

          Nor does RTI allege any interruption of service, thus precluding costs, lost

   revenue, or other consequential damages in that category of “loss.” See Brown Jordan,

   846 F.3d at 1174; Klein & Heuchan, 2009 WL 963130, at *3. Reliance on the bare, albeit

   repeated, allegation of “attempts” to violate CFAA, (DE 10 at ¶¶ 1, 6, 10, 20, 21), and the

   conclusory damage statement in the unverified Complaint, (DE 10 at ¶ 24), does not

   satisfy the clear requirements of CFAA, as interpreted by the Eleventh Circuit and this

   Court. RTI has simply failed to allege facts that would support its conclusory claim that it

   incurred $5,000 or more in any damages, much less cognizable “loss” required as a

   threshold for CFAA standing. Having thus failed to allege that RTI incurred cognizable

   losses of any amount, much less the threshold amount under CFAA, the Complaint is

   defective on its face and should be dismissed as matter of law.



       C. RTI fails to allege required elements of each individual CFAA theory

          In addition to the failure to allege “access” and “loss,” which are fatal to RTI’s

   CFAA claim any theory, each of the possible substantive claims hinted at in the

   Complaint fatally lacks one (1) or more additional required elements.



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           1. RTI fails to allege cognizable “damage” required by 18 U.S.C. §
           1030(a)(5)(C)

           To state a “hacking” claim under 18 U.S.C. § 1030(a)(5)(C), RTI must allege that

   Lysenko intentionally (a) accessed a protected computer and caused (b) “damage” and (c)

   “loss” both as defined by CFAA. Unlike the claims above for “data theft” and “fraud,”

   CFFA requires RTI to plead both “loss” and “damage” to state a claim under 18 U.S.C. §

   1030(a)(5)(C). See Aquent, 65 F. Supp. 3d at 1344; Trademotion, 857 F. Supp. 2d at 1292

   n. 3.

           As addressed in detail above at Sections B.1 and B.2, RTI has failed to allege the

   required elements of “access” and “loss” required in a claim under 18 U.S.C. §

   1030(a)(5)(C). In addition, the Complaint does not include any allegations of “damage”

   that are required under 18 U.S.C. § 1030(a)(5)(C). RTI fails to allege cognizable

   “damage” of any amount. As noted above, the sole reference in the unverified Complaint

   to any monetary damages is that “[a]s a result of Lysenko’s conduct, within less than one

   year’s time, Roper has incurred substantial damages in excess of $5,000.” (DE 10 at ¶

   24). As with “loss,” however, CFAA provides a very specific definition of “damage.”

           The CFAA defines “damage” specifically as “any impairment to the integrity or

   availability of data, a program, a system, or information.” 18 U.S.C. § 1030(e)(8). The

   use of term “integrity” in the statute to define damage requires “‘some diminution in the

   completeness or usability of data or information on a computer system’.” Trademotion,

   857 F. Supp. 2d at 1292 (quoting Resdev, 2005 WL 1924743, at *5); Maintenx

   Management, 2015 WL 310543, at *3.


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          Likewise, the use of word “availability” suggests that RTI may prove damage by

   showing that Lysenko’s actions somehow made certain data or program not readily

   obtainable. See Trademotion, 857 F. Supp. 2d at 1292; Cheney v. IPD Analytics, LLC,

   No. 08–23188–CIV, 2009 WL 1298405, at *6 (Apr. 16, 2009), report & recommendation

   adopted, 2009 WL 2096236 (S.D. Fla. May 8, 2009). Thus, as opposed to “loss,” the

   definition of “damage” “is aimed at the impairment rendered to the computer and

   information therein.” Lockheed Martin Corp. v. Speed, 81 USPQ 2d 1669, 2006 WL

   2683058, at *7 (Aug. 1, 2006), reconsideration denied, 2007 WL 566694 (M.D. Fla. Feb.

   20, 2007). Accord Aquent, 65 F. Supp. 3d at 1345.

          The Complaint offers no factual allegations to support a conclusion that RTI

   suffered “damages” compensable under the CFAA as a result of Lysenko’s alleged

   conduct. In SkiData, the Court rejected conclusory allegations in a verified Complaint as

   insufficient to meet minimum pleading requirements, where the pleadings did not allege

   that defendant’s allegedly unauthorized access resulted in impairment to plaintiff’s

   systems, caused a diminution in the completeness or usability of data or information, or

   rendered plaintiff's programs unusable as required to show “damage” under CFAA. Id. at

   *2. The unverified Complaint in this case alleges no facts showing that RTI suffered any

   damage or impairment to data, a program, a system, or information owned by RTI. See,

   e.g., HCC Ins. Holdings, Inc. v. Flowers, 237 F. Supp. 3d 1341, 1357 (N.D. Ga. 2017)

   (granting motion to dismiss); Pediatric Nephrology Assocs. of S. Fla. v. Variety

   Children’s Hosp., 226 F. Supp. 3d 1346, 1354-55 (S.D. Fla. 2016) (Conclusory

   allegations that defendants “hacked” into system to obtain proprietary information for



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   improper uses to impact treatment of patients failed to state claim absent facts sufficient

   to demonstrate actual cognizable injury to plaintiff); Nianni, LLC v. Fox, No. 2:11–CV–

   118–FTM–36DNF, 2011 WL 5357820, at *4 (M.D. Fla. Nov. 7, 2011) (failure to allege

   cognizable “damage” fatal to CFAA claim under 18 U.S.C. § 1030(a)(5)(C)); Klein &

   Heuchan, 2009 WL 963130, at *4 (failure to allege impairment to the integrity or

   availability of its data, program, system or information required dismissal). This, of

   course, is understandable since RTI has not alleged that Lysenko actually “accessed” its

   systems.

           Even if RTI alleged that Lysenko had accessed its protected computers, any

   allegations in the Complaint that suggest “damage” pertain to RTI’s speculation that

   Lysenko intended to access and “steal” RTI’s “confidential and proprietary” information,

   see DE 10 at ¶ 21, and to advance his own personal interests, id. at ¶ 22, not to any

   alleged deletion and/or alteration of the data, which is a required element under the

   CFAA. See Pediatric Nephrology, 226 F. Supp. 3d at 1355; Continental Group, Inc. v.

   KW Prop. Mgmt., Inc., 622 F. Supp. 2d 1357, 1371 (S.D. Fla. 2009) (rejecting contention

   that “unauthorized access can be damage,” and holding that “the data must be impaired

   and not merely copied”)9; Lockheed Martin, 2006 WL 2683058, at *7 (M.D. Fla. Aug. 1,

   2006) (“Likewise, while Lockheed's remedial measures ... fall under the statute's




   9
     In Brown Jordan, the Eleventh Circuit declined to follow Continental Group on other grounds,
   i.e., whether all cognizable “loss” had to result from an interruption of service under 18 U.S.C. §
   1030 (e)(11) but did not address the issue of cognizable “damage” under 18 U.S.C. § 1030(e)(8).
   See Brown Jordan, 846 F.3d at 1174.


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   definition of ‘loss,’ such measures do not fit in the definition of ‘damage,’ which is aimed

   at the impairment rendered to the computer and information therein.”).



          2. RTI fails to allege that Lysenko “obtained anything of value” or “furthered
          his intended fraud” required under 18 U.S.C. § 1030(a)(4)

          To state a claim under CFAA’s “fraud” provision in 18 U.S.C. § 1030(a)(4), RTI

   must allege each the following elements: (1) Lysenko knowingly (2) and with intent to

   defraud (3) accessed a protected computer, (4) that he lacked authorization or exceeded

   his authorized access to that protected computer, (5) that by means of such conduct he

   furthered his intended fraud and obtained anything of value, and (6) of course, that

   Lysenko caused at least $5,000 in loss to RTI. See 18 U.S.C. §§ 1030(a)(4) and 1030(g);

   see also Agilysys, 2017 WL 2903364 at *3; Enhanced Recovery, 2015 WL 1470852, at

   *5; Nianni, 2011 WL 5357820, at *4; PharMerica, Inc. v. Arledge, No. 8:07-CV-486-T-

   26MAP, 2007 WL 865510, at *6 (M.D. Fla. Mar. 21, 2007).

          As addressed in detail above at Sections B.1 and B.2, RTI has failed to allege the

   required elements of “access” and “loss” required in a claim under 18 U.S.C. §

   1030(a)(2)(C). Likewise, RTI has not alleged that Lysenko “furthered his intended fraud”

   (which likewise is not identified) or that he “obtain[ed] anything of value” from any

   protected computer as required under 18 U.S.C. § 1030(a)(4)




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            3. RTI fails to allege that Lysenko “obtained information” from a protected
            computer required under 18 U.S.C. § 1030(a)(2)(C)

       To state a claim under CFAA’s “data theft” provision 18 U.S.C. § 1030(a)(2)(C),

   RTI must establish four elements: (1) Lysenko intentionally accessed a computer, (2)

   Lysenko lacked authorization or exceeded his authorized access to the computer, (3) that

   Lysenko thereby obtained information from a protected computer, and (4) of course, that

   Lysenko caused at least $5,000 in loss to RTI. See 18 U.S.C. §§ 1030(a)(2)(C) and

   1030(g); see also Aquent, 65 F. Supp. 3d at 1344; Enhanced Recovery, 2015 WL

   1470852, at *5; Clarity Servs., Inc. v. Barney, 698 F. Supp. 2d 1309, 1313 (M.D. Fla.

   2010).

       As addressed in detail above at Sections B.1 and B.2, RTI has failed to allege the

   required elements of “access” and “loss” required in a claim under 18 U.S.C. §

   1030(a)(2)(C). Likewise, RTI has not alleged that Lysenko “obtained information from

   any protected computer” required in a claim under 18 U.S.C. § 1030(a)(2)(C). The

   Complaint fails to allege any facts that would support a finding that Lysenko obtained

   anything, including “information” from any computer, much less a “protected computer.”

   Consequently, any attempted claim under 18 U.S.C. § 1030(a)(2)(C) must be dismissed.



       D. CFAA does not authorize award of attorney’s fees or treble, punitive or
       other noneconomic damages

       Undaunted by the complete lack of legal or factual support for its substantive claims,

   RTI boldly presses on, demanding judgment for compensatory, statutory, punitive and




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   treble damages, as well injunctive relief10, attorney’s fees, and more. (DE 10 at ¶ 24).

   CFAA’s civil action provision states: “Any person who suffers damage or loss by reason

   of a violation of this section may maintain a civil action against the violator to obtain

   compensatory damages and injunctive relief or other equitable relief.” 18 U.S.C. §

   1030(g). The plain language does not authorize RTI to demand statutory damages, treble

   damages, punitive damages, or attorney's fees. See 18 U.S.C. § 1030(g); see also Massre

   v. Bibyan, No. 12 Civ. 6615 (KPF), 2014 WL 2722849, at *3 (S.D.N.Y. Jun. 16, 2014)

   (CFAA does not permit punitive damages); Brooks v. AM Resorts, LLC, 954 F. Supp. 2d

   331, 338 (E.D. Pa. 2013) (litigation expenses not recoverable); NCMIC Finance Corp. v.

   Artino, 638 F. Supp. 2d 1042, order modified, 2009 WL 10669611 (S.D. Iowa Nov. 10,

   2009); Wilson v. Moreau, 440 F. Supp. 2d 81 (D.R.I. 2006), aff’d, 492 F.3d 50 (1st Cir.

   2007) (attorney’s fees prosecuting CFAA action not recoverable).

        Moreover, the CFAA expressly and plainly limits recovery of damages involving

   claims that are based on the threshold “loss” factor in 18 U.S.C. § 1030(c)(4)(A)(i)(I) to

   economic losses. See Trademotion, 857 F. Supp. 2d at 1290. “Legal fees” and “court

   costs” are not “consequential damages” within the meaning of 18 U.S.C. § 1030(e)(11);

   see Brown Jordan, 846 F.3d at 1174 (“‘Loss’ includes the direct costs of responding to

   the violation in the first portion of the definition, and consequential damages resulting



   10
     Despite its urgent claims to the Court that Lysenko continues (DE 10 at ¶ 21) to attempt to
   access the “highly sensitive and confidential financial information” in its “online treasury
   management system,” (DE 10 at ¶¶ 1, 6, 9, 10, 18), RTI, a publicly traded corporation has filed
   no motion for injunctive relief, has provided this Court with no supporting affidavits or
   declarations, verified pleadings, or other evidence, and apparently not brought this alleged
   “criminal” conduct to the attention of any law enforcement agencies.



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   from interruption of service in the second.”); Padmanabhan v. Healey, 159 F. Supp. 3d

   220, 224 (D. Mass. 2016) (attorney fees do not qualify as “losses” under CFAA), aff’d,

   2017 WL 3404402 (1st Cir.), cert. denied, ___ S Ct. ___, 2017 WL 1650482 (2017).



    III. Conclusion

          RTI has endeavored to cobble together a non-existent civil claim by casting

   various dramatic and serious accusations against a former employee to create the illusion

   of a sinister computer criminal. While incredibly disparaging of and damaging to

   Lysenko, such assertions otherwise amount at most to ineffective legal legerdemain to

   distract the Court’s attention from the glaring fact that RTI does not and cannot allege the

   elements of “access” and “loss,” both of which are critical to its CFAA claim under any

   theory. In addition, each purported individual CFAA violation fails for lack of required

   elements: any “hacking” claim under §1030(a)(5)(C) fails for lack of alleged “damage.”

   Any “fraud” claim under §1030(a)(2)(C) fails for lack of allegations that Lysenko

   “obtained anything of value” and “further the intended fraud.” Likewise, any alleged

   “data theft” claim under §1030(a)(2)(C) fails or lack of any allegation that Lysenko

   “obtained information” from a protected computer, i.e., no theft is alleged. Finally, RTI’s

   “kitchen sink” approach to damages is simply not consistent with the limited remedies

   available under CFAA in cases when a violation is adequately alleged. Moreover, the

   Middle District has cautioned that CFAA is a “criminal statute with a civil cause of

   action” and that the rule of lenity “requires a restrained, narrow interpretation.” Lockheed

   Martin, 2006 WL 2683058, at *7. Accord Clarity Servs., 698 F. Supp. 2d at 1316.



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   Extension of a federal criminal statute to employee misconduct in the private sector is a

   legislative responsibility and not a proper occasion for aggressive statutory interpretation

   by the judiciary. See Lee v. PMSI, Inc., No. 8:10–CV–2904–T–23TBM, 2011 WL

   1742028, at *3 (M.D. Fla. May 6, 2011) (citing United States v. Rybicki, 354 F. 3d 124,

   135 (2d Cir. 2003)). Allowing this case to proceed absent so many critical elements

   would fly directly in the face of this body of authority.




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          WHEREFORE, Defendant Anthony Lysenko respectfully requests that the Court

   enter an order dismissing the Complaint.


   Date: November 27, 2017

                                              Respectfully submitted,

                                              THOMAS & LOCICERO PL


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                                CERTIFICATE OF SERVICE

          I hereby certify that, on this 27th day of November 2017, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system, which will send a

   notice of electronic filing to Counsel of Record:

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